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                             UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION
 STEPHEN C. PHILLIPS, individually,
 and on behalf of all others similarly
 situated,                                     Case No. 1:21-cv-02614

      Plaintiff,

 v.

 MIRAMED REVENUE GROUP, LLC,

      Defendant.

                               STIPULATION OF DISMISSAL

        NOW COMES the Plaintiff, STEPHEN C. PHILLIPS, and pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i), hereby dismissing his individual claims against Defendant, MIRAMED

REVENUE GROUP, LLC, with prejudice. Pursuant to Fed. R. Civ. P. 23(e), the class claims are

dismissed without prejudice. Each party to bear their own attorney’s fees and cost.

Dated: October 13, 2021                              Respectfully submitted,

 STEPHEN C. PHILLIPS
 /s/ Mohammed O. Badwan                            MIRAMED REVENUE GROUP, LLC
 Mohammed O. Badwan, Esq.                          /s/ Nabil G. Foster
 Victor T. Metroff, Esq.                           Nabil G. Foster
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 13, 2021, I electronically filed the foregoing with the
Clerk of the Court for the Northern District of Illinois by using the CM/ECF system.

                                                             /s/ Mohammed O. Badwan
                                                             Mohammed O. Badwan, Esq.
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